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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                            PLAINTIFF

VS.                      CASE NO. 5:14CR50066-005

KAREN VASQUEZ-BENITEZ                                               DEFENDANT


             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3),

Local Rule 72.1 ¶ XII, and General Order No. 40, this matter was

referred to the undersigned for the purposes of conducting a waiver

of indictment and plea hearing pursuant to Rule 7(b) and Rule 11 of

the Federal Rules of Criminal Procedure.                 Such a hearing was

conducted on February 6, 2015, and, pursuant to a written plea

agreement, the Defendant, Karen Vasquez-Benitez, waived indictment

and entered a plea of guilty to the one count information charging

her with Interstate or Foreign Travel or Transportation in Aid of

Racketeering      Enterprises,     in    violation       of    18    U.S.C.     §

1952(a)(3)(A). The plea agreement states that if the Court accepts

the Defendant’s guilty plea to the Information, the Government will

move to dismiss the pending Indictment against the Defendant.

After conducting the hearing in the form and manner prescribed by

Rule 7(b) and Rule 11, the undersigned finds:

      1.    The Defendant, after consultation with her counsel, has

knowingly and voluntarily waived indictment and consented, both in

writing and on the record at the hearing, to the entry of her
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guilty plea to an information before the undersigned, with the plea

being subject to final approval by United States District Judge

Timothy L. Brooks.

      2.     The Defendant and the Government have entered into a

written plea agreement which has been disclosed in open court

pursuant to Rule 11(c)(2), and the undersigned has directed that

the plea agreement be filed.

      3.     The Defendant is fully competent and capable of entering

an informed plea; the Defendant is aware of the nature of the

charges, the applicable maximum penalties, and the consequences of

the plea; the Defendant is fully satisfied with her counsel and has

had sufficient time to consult with him; and the plea of guilty is

a knowing and voluntary plea supported by an independent basis in

fact containing each of the essential elements of the offense.

      4.     The   Defendant    understands     her     constitutional       and

statutory rights and wishes to waive these rights.

      5.     The parties were informed, both in writing and on the

record at the hearing, of their right to file written objections

within     fourteen   (14)   days   after   receipt     of   this   Report   and

Recommendation.       To expedite acceptance of the guilty plea, the

parties waived, both on the record and in writing, their right to

file objections.

      Based on the foregoing, the undersigned recommends that the

guilty plea be accepted and that the written plea agreement be

tentatively approved, subject to final approval at sentencing.
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      DATED this 10th day of February, 2015.



                                          /s/ Erin L. Setser
                                          HON. ERIN L. SETSER
                                          UNITED STATES MAGISTRATE JUDGE
